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 1   Steve W. Berman (Pro Hac Vice)
     HAGENS BERMAN SOBOL SHAPIRO LLP
 2   715 Hearst Avenue, Suite 300
     Berkeley, CA 94710
 3   Telephone: (510) 725-3000
 4   Facsimile: (510) 725-3001
     steve@hbsslaw.com
 5
     Elizabeth J. Cabraser (083151)
 6   LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
     275 Battery Street, 29th Floor
 7   San Francisco, CA 94111-3339
 8   Telephone: (415) 956-1000
     Facsimile: (415) 956-1008
 9   ecabraser@lchb.com

10   Adam J. Zapala (245748)
     COTCHETT, PITRE & McCARTHY, LLP
11
     840 Malcolm Road
12   Burlingame, CA 94010
     Telephone: (650) 697-6000
13   Facsimile: (650) 697-0577
     azapala@cpmlegal.com
14
     Counsel for Indirect Purchaser Plaintiffs
15

16
                                  UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                          OAKLAND DIVISION
19

20   IN RE LITHIUM ION BATTERIES                      Case No. 13-MD-02420 YGR (DMR)
     ANTITRUST LITIGATION
21                                                    MDL No. 2420
22

23                                                    INDIRECT PURCHASER PLAINTIFFS’
     This Documents Relates to:                       PLAN AND SCHEDULE OF
24                                                    DISTRIBUTION AND [PROPOSED]
     ALL INDIRECT PURCHASER ACTIONS                   ORDER
25

26                                                    DATE ACTION FILED: Oct. 3, 2012
27

28
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 1            Indirect Purchaser Plaintiffs (IPPs) submit this proposed plan of distribution and schedule

 2   pursuant to this Court’s prior orders. This Court has previously appointed Sipree, Inc., d/b/a

 3   DigitalPay (Digital Pay) and Epiq Class Action & Claims Solutions, Inc. (Epiq) as the claims

 4   administrators for the Indirect Purchaser Class (ECF Nos. 2475, 2571). IPPs propose that these two

 5   administrators continue through the final distribution of funds.

 6            Funds Available for Distribution: In total, the indirect purchasers recovered $113,450,000

 7   million for the indirect purchaser class. During the pendency of appeals and since the inception of

 8   the individual settlement accounts, $1,113,936.23 in interest accrued in the accounts. This Court

 9   awarded $33,829,176.00 in attorneys’ fees, $6,751,735.84 in reimbursed expenses, and $260,000 in

10   service awards (representing $10,000 for each of the twenty-one individual class representatives and

11   $25,000 for each of the two governmental entity class representatives). ECF No. 2516. To date,

12   notice and claims administrators have been paid $2,663,383.94, and an additional $332,802.29 is

13   anticipated, for a total of $2,996,186.23.1 Finally, the accounts paid a total of $24,322.39 in taxes

14   and tax expenses on the accrued interest. The following chart summarizes these amounts:

15          Total Settlements                                                    $ 113,450,000.00
16          Interest                                                             $ 1,113,936.23
            Attorneys’ Fees                                                      $ (33,829,176.00)
17
            Reimbursed Expenses                                                  $ (6,751,735.84)
18          Service Awards to Individual Class Reps ($10,000/person)             $    (210,000.00)
            Service Awards to Municipal Plaintiffs ($25,000/entity)              $     (50,000.00)
19
            Administrative Costs Incurred                                        $ (2,663,383.94)
20          Estimated Future Administrative Costs                                $    (332,802.29)
            Tax and Tax Expenses                                                 $     (24,322.39)
21
            Net Settlement Fund Available for Distribution                       $ 70,702,515.77
22

23

24      1
          To date, Epiq has been paid $553,647.48; has a current outstanding invoice of $9,923.39 and
     estimates fees and expenses to complete distribution of $122,878.90. DigitalPay has been paid
25   $756,213 and estimates fees and expenses to complete distribution of $200,000. KCC, a previously
     appointed notice and claims administrator has been paid $622,575.71, and AB Data, a previously
26   appointed notice and claims administrator has been paid $704,210.21. Under the eight settlement
     agreements, the total allowed for administrative costs was $4.1 million. This means the estimated
27   costs are $1.1 million under budget, after four rounds of notice and multiple appeals. As has been
     repeatedly represented to the Court, Class Counsel has vigorously negotiated the contracts and
28   overseen expenses to maximize all returns to the class.
     IPP PROPOSED PLAN OF DISTRIBUTION AND SCHEDULE - 1
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 1          Valid Claims: After a lengthy audit process, there remain 1,079,487 valid and timely claims,

 2   representing the following number of devices from each category of the settlement class:

 3             Category             Repealer State       Non-Repealer State              Total
 4        PC Units                  24,807,916.00           7,896,585.00             32,704,501.00
          Mobile Units              24,317,728.00           6,766,647.00             31,084,375.00
 5        Camcorder Units            1,691,895.00           2,817,888.00              4,509,783.00
 6        Power Tool Units          11,068,039.00           3,762,891.00             14,830,930.00
          Total Units               61,885,578.00          21,244,011.00             83,129,589.00
 7        Total Claims                 622,297.00             457,190.00              1,079,487.00
 8   These claims were received at www.reversethecharge.com, via email to info@reversethecharge.com,
 9   and via U.S. Mail.
10          Plan of Distribution: This Court previously approved a two-step distribution plan. First, 90
11   percent of each settlement fund will be allocated to claims of Class Members who reside in Illinois-
12   Brick repealer states, and the remaining 10 percent will be allocated to claims of Class Members
13   who reside in non-repealer states. Second, within each allocation, the funds will be distributed pro
14   rata to claimants based on the total number of covered products purchased from January 1, 2000,
15   through May 31, 2011. ECF No. 2516 at 4.
16          Execution of the distribution plan must also account for the existence of two different
17   settlement classes. The settlement class for the Sony settlement represented a broader class of
18   devices, including cell phones in addition to PCs, camcorders and power tools. ECF No. 1209-1 at 6.
19   Therefore, distribution to all four of those product categories will be made from the Sony settlement.
20   The subsequent seven settlements included only PCs, camcorders and power tools. ECF Nos. 1652-3
21   at 3 (LG Chem); 1672-2 at 3 (NEC); 1672-3 at 2 (Hitachi Maxell); 2459-1 at 4 (Panasonic); 2459-1
22   at 4 (SDI); 2459-1 at 3 (Tokin); and 2459-1 at 3 (Toshiba). Therefore, distribution of those seven
23   funds will be made to only three product categories (PCs, camcorders and power tools).
24          The fees, expenses, service awards, administrative costs and tax expenses noted above will
25   be allocated proportionally between the Sony and non-Sony funds. In other words, because the Sony
26   settlement amounts to 17.1881886% of the total settlements, 17.1881886% of the fees, expenses and
27   service awards will be paid from that fund, with the remainder paid from the other funds. This leaves
28   $12,084,976.46 available for distribution from the Sony settlement to the broader 4-device class, and
     IPP PROPOSED PLAN OF DISTRIBUTION AND SCHEDULE - 2
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 1   $58,617,539.31 available for distribution from the remaining seven settlements to the 3-device class.

 2   These amounts will, as noted above, be allocated between repealer state claims (90%) and non-

 3   repealer state claims (10%).

 4          Procedures for Distribution:

 5          The following five payment options will be available to class members:

 6          Option 1: Virtual Mastercard with Online & Point of Sale (POS) Use – $1,000 Maximum

 7   Limit. This option does not require a bank account. A virtual Mastercard is instantly activated with

 8   confirmation of name + mobile number, with no other registration needed.

 9          Option 2: Physical Mastercard (pCard): Online & Point of Sale Use – $9,999 Max. This

10   option also does not require a bank account for online / point-of-sale usage. The card only requires

11   activation – no other registration needed.

12          Option 3: Amazon – $2,000 Max. Instant use and/or transfer to Amazon balance.

13          Option 4: Target – $2,000 Max. Instant use online or at point of sale (printout or Target app).

14          Option 5: Starbucks – $500 Max. Instant use online or at point of sale (with Starbucks app).

15          Claimants will be presented with payment options according to the amount of their validated

16   settlement claim and the maximum value approved for an endpoint. For validated claims up to

17   $10,000 (the maximum for digital payments, per AML Compliance) claimants will have the

18   following choices:

19              Level of                                                               Maximum
                                    Payment Amount         Payment Options
                Payment                                                                Amounts
20
            Tier 1               $5.00-$499.99         Target                           $2,000
21                                                     Digital Debit Card (vMC)         $1,000
                                                       Amazon                           $2,000
22                                                     Starbucks                          $500
            Tier 2               $500-$999.99          Target                           $1,000
23                                                     Digital Debit Card (vMC)         $1,000
                                                       Amazon                           $2,000
24                                                     pCard – Online/POS               $1,000
25          Tier 3               $1000-$1999.99        Amazon                           $2,000
                                                       pCard – Online/POS/ATM           $9,999.99
26          Tier 4               $2,000-$9999.99       pCard – Online/POS/ATM           $9,999.99

27

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     IPP PROPOSED PLAN OF DISTRIBUTION AND SCHEDULE - 3
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 1          To maximize participation, the distribution will be executed in two phases: “Initial Payment

 2   Offering” and “Second Round Offering.” During Initial Payment Offering, claimants will be sent

 3   emails notifying them of the funds that are waiting for them. Claimants will be able to follow simple,

 4   easy steps to receive their payment – a process of four clicks, with no applications required.

 5   DigitalPay estimates that more than 80% of claimants are expected to receive funds in this phase of

 6   the program.

 7          Payment notices sent in the Initial Payment Offering each have a pre-designated time-to-live

 8   (TTL). After TTL expiration, DigitalPay will gather a file of claimants who accepted payment

 9   during the Initial Payment Offering. A final assessment of funds remaining for distribution will be

10   completed, followed by the Second Round Offering. In this phase, DigitalPay will send a final pro-

11   rata payment to claimants who accepted funds in the Initial Payment Offering. This payment will

12   align with the same endpoint the claimant chose to receive funds in the Initial Payment Offering.

13   This process:

14                  Maximizes payout with 100% delivery to claimants who are proven to be responsive
                     and have validated email addresses;
15
                    Provides continuity by sending the additional pro-rata payment to an endpoint the
16                   claimant prefers;
17                  Provides finality of payment and delegates escheatment to the retailer or bank issuing
                     the debit card;
18
                    Takes the settlement fund to as close to a $0 balance as possible (not including
19                   outstanding paper checks or final “bounced” digital pro-rata payments).
20
            For those class members that have requested payment by check, or for whom the award value
21
     is too large to allow for digital payment, Epiq will mail checks. As of the time of this filing, there are
22
     estimated to be 15,000 requests for checks. Epiq will also assist DigitalPay with the customer service
23
     component of the digital distribution.
24
            After this second round of distribution, it is estimated that insufficient funds will exist to
25
     make a third round of distribution economically feasible. Consistent with prior notices sent to the
26
     class and approved by this Court, the remaining funds will escheat to the Attorneys General for the
27
     Class jurisdictions for use in prosecuting consumer antitrust claims. No funds will be returned to the
28
     IPP PROPOSED PLAN OF DISTRIBUTION AND SCHEDULE - 4
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 1   defendants. If it appears that a third round of distribution would make economic sense given the

 2   funds remaining, Class Counsel will notify the Court.

 3          Proposed Schedule: IPPs propose the following schedule for the distribution:

 4                   Event                                             Date for Completion
 5    Warm Up Emails
 6    DigitalPay emails claimants an initial notice (a
      “warm up”) that communicates payment is soon               Completed 49 days from granting of
 7    coming and provides a date range of when payee               proposed plan of distribution.
      will see payment. This email sets expectations and
 8    reinforces credibility of the payment to be received.
 9
      Phase I: Payment Notification and Receipt
10
      DigitalPay issues payments (“payment
11    notification”) to claimants via email. From this
      communication, claimants will be able to select
12    where they would like to receive funds. This action        Completed 73 days from granting of
      transfers funds from the settlement fund to the              proposed plan of distribution.
13    possession of the payee.

14    Claims administrator Epiq Class Action Claims and
      Solutions (Epiq) to mail paper checks week the
15    same week that digital payments begin.

16    Payment Expiration
17    All digital payments issued in Phase I will expire
      over this period (each digital payment expires 28
18    days after being issued; the vast majority of             Completed 101 days from granting of
      payments taken will occur in a ~72-hour window               proposed plan of distribution.
19    from notification). While a payment is active—but
      has not yet been taken—payees will receive three
20    emails to remind them they have funds waiting.
21
      Report Results of Phase I
22
      DigitalPay and Epiq to identify and report funds
23    that have not yet been taken by payees. Final
      accounting report and reconciliation will be created,     Completed 144 days from granting of
24    along with proposed Second Round Distribution                proposed plan of distribution.
      amounts. A report on first round distribution will be
25    filed with the Court with a proposed plan for
      Second Round Distribution.
26

27

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     IPP PROPOSED PLAN OF DISTRIBUTION AND SCHEDULE - 5
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 1                   Event                                             Date for Completion

 2    Phase II: Second Round Distribution

 3    Claims administrator DigitalPay securely delivers a
      final pro rata payment to all payees who took a
 4    payment in the Initial Payment Offering (Phase I),
      as well as those that requested an updated method
 5    of payment in Phase I. This final phase delivers
      funds to all entitled claimants with the intent of        Completed 160 days from granting of
 6    taking the settlement balance as closed to $0 as             proposed plan of distribution.
      possible (except for outstanding physical checks
 7    issued by Epiq).

 8    Claims administrator Epiq to reissue checks with
      30-day expiration to those who did not cash 60 days
 9    from first issuance.

10    Final Reporting
11    Claims administrator DigitalPay to provide final
      report regarding the disbursement of the settlement
12    funds.
13    Claims administrator Epiq to identify and report          Completed 203 days from granting of
      checks that have not been cashed 30 days from re-            proposed plan of distribution.
14    issuance.
15    Any remaining funds will be distributed to the
      Attorneys General for the Class jurisdictions for use
16    in prosecuting consumer antitrust claims.
17

18

19

20
            IT IS SO ORDERED.
21

22
     Dated: ____________________                  ___________________________________
23                                                YVONNE GONZALEZ ROGERS
                                                  UNITED STATES DISTRICT JUDGE
24

25

26

27

28
     IPP PROPOSED PLAN OF DISTRIBUTION AND SCHEDULE - 6
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 1

 2   DATED: April 7, 2023                       HAGENS BERMAN SOBOL SHAPIRO LLP

 3                                              By s/ Shana E. Scarlett
                                                    SHANA E. SCARLETT
 4                                              Steve W. Berman (pro hac vice)
                                                Benjamin J. Siegel (256260)
 5                                              715 Hearst Avenue, Suite 300
                                                Berkeley, CA 94710
 6                                              Telephone: (510) 725-3000
                                                Facsimile: (510) 725-3001
 7
                                                steve@hbsslaw.com
 8                                              shanas@hbsslaw.com
                                                bens@hbsslaw.com
 9
     DATED: April 7, 2023                       LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
10
                                                By s/ Brendan P. Glackin
11                                                  BRENDAN P. GLACKIN
                                                Elizabeth J. Cabraser (SBN 083151)
12                                              Brendan P. Glackin (199643)
                                                Lin Y. Chan (SBN 255027)
13                                              Michael K. Sheen (288284)
14                                              275 Battery Street, 29th Floor
                                                San Francisco, CA 94111-3339
15                                              Telephone: (415) 956-1000
                                                Facsimile: (415) 956-1008
16                                              ecabraser@lchb.com
                                                bglackin@lchb.com
17                                              lchan@lchb.com
                                                msheen@lchb.com
18
     DATED: April 7, 2023                       COTCHETT, PITRE & McCARTHY, LLP
19
                                                By s/ Adam J. Zapala
20
                                                     ADAM J. ZAPALA
21                                              Joseph W. Cotchett (SBN 36324)
                                                Tamarah P. Prevost (SBN 313422)
22                                              840 Malcolm Road
                                                Burlingame, CA 94010
23                                              Telephone: (650) 697-6000
                                                Facsimile: (650) 697-0577
24                                              jcotchett@cpmlegal.com
                                                azapala@cpmlegal.com
25                                              tprevost@cpmlegal.com
26                                              Counsel for Indirect Purchaser Plaintiffs
27

28
     IPP PROPOSED PLAN OF DISTRIBUTION AND SCHEDULE - 7
     CASE NO.: 3:10-MD-02420-YGR (DMR)
